     Case 1:15-cr-00286-ADA-BAM Document 133 Filed 03/24/16 Page 1 of 2


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 7   Attorneys for the
     United States of America
 8

 9                                    UNITED STATES DISTRICT COURT

10                             FOR THE EASTERN DISTRICT OF CALIFORNIA

11

12   UNITED STATES OF AMERICA,                        CASE NO. 1:15-CR-00286-DAD-BAM

13                       Plaintiff,                   STIPULATION AND ORDER REGARDING
                                                      CONTINUANCE
14           v.

15   ZAID ELODAT,

16                       Defendant.

17

18                                            STIPULATION

19   Plaintiff United States of America, by and through its counsel of record, and defendant, by and
20   through his counsel of record, hereby stipulate as follows:
21           1. By previous order, this matter was set for sentencing on Monday, July 11, 2016, at
22                10:00 a.m.
23           2. By this stipulation, the parties now move to continue the matter to Monday,
24                December 5, 2016, at 10:00 a.m.
25           3. The parties further stipulate to the following schedule:
26           Informal Objections Due:                                           November 7, 2016
27           Final PSR Filed with the Court:                                    November 14, 2016
28           Formal Objections to PSR/Sentencing Memo due:                      November 21, 2016
                                                      1
     Case 1:15-cr-00286-ADA-BAM Document 133 Filed 03/24/16 Page 2 of 2


 1            Responses to Formal Objections/Reply to Sentencing Memo:      November 28, 2016
 2            IT IS SO STIPULATED.
 3   DATED:         March 23, 2016                    Respectfully submitted,
 4
                                                      BENJAMIN B. WAGNER
 5
                                                      United States Attorney
 6

 7                                                    /s/ Karen A. Escobar
                                                      KAREN A. ESCOBAR
 8                                                    Assistant United States Attorney
 9

10   DATED:         March 23, 2016

11                                                    /s/ Edward Robinson
                                                      EDWARD ROBINSON
12
                                                      Counsel for Defendant
13                                                    Zaid Elodat

14

15                                            ORDER
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17   IT IS SO ORDERED.

18   Dated:     March 24, 2016
19                                                   UNITED STATES DISTRICT JUDGE

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